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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 8:17-cv-00746-JLS-JDE                                       Date: July 20, 2023
  Title: Steven Rupp et al v. Rob Bonta

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

             Catherine Jeang for
               V. R. Vallery                                           N/A
                Deputy Clerk                                      Court Reporter

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendant:

                Not Present                                         Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER: (1) CONTINUING HEARING ON
               MOTIONS FOR SUMMARY JUDGMENT (Docs. 149, 150)
               AND (2) CONTINUING OTHER PRETRIAL DEADLINES

         The hearing on the parties’ motions for summary judgment (Docs. 149, 150) is
  currently set for July 28, 2023, at 10:30 a.m. In light of the court’s calendar, and on the
  court’s own motion, the hearing on the Motions is CONTINUED to September 8, 2023,
  at 10:30 a.m.

      The deadline to file motions in limine currently set for September 29, 2023, is
  CONTINUED to October 13, 2023.

      The Final Pretrial Conference currently set for October 27, 2023, at 10:30 a.m. is
  CONTINUED to November 17, 2023, at 10:30 a.m.


                                                          Initials of Deputy Clerk: CMJ




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